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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


FRANK P. PELLEGRINO,

                       Plaintiff,

v.                                                           Case No: 6:18-cv-1694-Orl-41TBS

COMENITY LLC,

                       Defendant.
                                             /

                                             ORDER

       THIS CAUSE is before the Court upon sua sponte review. On March 11, 2019, this Court

ordered the parties to show cause on or before March 18, 2019, as to why this case should not be

dismissed for failure to failure to comply with the Related Case Order and Track Two Notice.

(Mar. 11, 2019 Order, Doc. 16, at 1). The Order also warned that failure to comply “may result in

the imposition of sanctions, including dismissal, without further notice.” (Id.). The parties failed

to respond, and the time to do so has passed. Accordingly, it is ORDERED and ADJUDGED that

this case is DISMISSED without prejudice. The Clerk is directed to close this case.

       DONE and ORDERED in Orlando, Florida on March 19, 2019.




Copies furnished to:

Counsel of Record




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